                                 UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF TENNESSEE
                                      NASHVILLE DIVISION

JOHN RUFFINO and MARTHA RUFFINO,                                )
Husband and Wife,                                               )
                                                                )
          Plaintiffs,                                           )        Civil Action No.: 3:17-cv-00725
                                                                )
v.                                                              )        Jury Demand
                                                                )
DR. CLARK ARCHER and HCA HEALTH                                 )        Judge Campbell
SERVICES OF TENNESSEE, INC. d/b/a                               )        Magistrate Judge Newbern
STONECREST MEDICAL CENTER,                                      )
                                                                )
          Defendants.                                           )

           PLAINTIFFS’ RESPONSE TO DEFENDANT’S MOTION IN LIMINE #3

          In their Motion in Limine #3 (“Motion”), the Defendant seeks an order limiting the

 Plaintiffs’ claims by precluding the Plaintiffs from presenting any evidence or argument that tPA

 can be safely administered past 4.5 hours. The ostensible support for this Motion is Rule 401 and

 402.1

          The Defendant’s argument that insufficient evidence supports one or more of Plaintiffs’

 claims may only be advanced through dispositive motions procedures and protections of Rule 56.

 See Louzon v. Ford Motor Co., 718 F.3d 556, 561 (6th Cir. 2013). The Motion should be denied

 because it is an improper attempt to have the Court dispose of substantive allegations/claims in the

 case through a motion in limine. See Id.




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  These rules have no logical connection to the relief sought. Clearly, evidence that tPA could be administered safely
 beyond 4.5 hours would be relevant to the issues in this case.



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                                               RESPECTFULLY SUBMITTED,



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                                 CERTIFICATE OF SERVICE

        I certify that I served all parties in this matter through counsel of record listed below with
the foregoing by CM/ECF on December 21, 2018:

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